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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION

                                           Case No.:
CHRISTOPHER WILLIAMS,
           Plaintiff,                      COMPLAINT AND DEMAND FOR
                                           JURY TRIAL
      v.
                                              1. TCPA, 47 U.S.C. § 227,

NAVY FEDERAL CREDIT UNION,                    2. Invasion of Privacy - Intrusion
                                                 Upon Seclusion
           Defendant.



                        COMPLAINT FOR DAMAGES

      Plaintiff, Christopher Williams (“Plaintiff”), through her attorneys, alleges

the following against Navy Federal Credit Union (“Defendant”):

                               INTRODUCTION

1.    Count I of Plaintiff’s Complaint is based upon the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that

broadly regulates the use of automated telephone equipment. Among other things,

the TCPA prohibits certain unsolicited marketing calls, restricts the use of

automatic dialers or prerecorded messages, and delegates rulemaking authority to

the Federal Communications Commission (“FCC”).

2.    Count II of Plaintiff’s Complaint is based upon the Invasion of Privacy -

Intrusion upon Seclusion, as derived from § 652B of the Restatement (Second) of




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Torts. § 652B prohibits an intentional intrusion, “physically or otherwise, upon the

solitude or seclusion of another or his private affairs or concerns… that would be

highly offensive to a reasonable person.”

                            JURISDICTION AND VENUE

3.       Subject matter jurisdiction of the Court arises under 47 U.S.C. § 227 et seq.

and 28 U.S.C. 1331.

4.       Venue is proper pursuant to 28 U.S.C. 1391(b)(1) in that a substantial part of

the events or omissions giving rise to the claim occurred in this District.

5.       Defendant transacts business here; personal jurisdiction is established.

                                        PARTIES

6.       Plaintiff is a natural person residing in the County of Fayette, State of

Tennessee.

7.       Defendant is a not-for-profit, federally chartered credit union with its principal

place of business in Vienna, Virginia. It has multiple branch offices in the State of

Tennessee, including one within the geographic boundaries of the Western District

of Tennessee.

8.       Defendant acted through their agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

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                          FACTUAL ALLEGATIONS

9.    In or around January 2021, Defendant began placing calls to Plaintiff on his

cellular phone number ending in 6719, in an attempt to collect an alleged debt.

10.   The calls placed by Defendant originated from the following numbers: (703)

255-8062 and (888) 209-4086.

11.    On or about January 12, 2021, at 9:02 a.m., Plaintiff answered a collection

call from Defendant from telephone number (901) 881-9244; Plaintiff heard a pause

and recalls hearing a burst of dialing tones or beeps before the collection agent

began to speak, indicating the use of an automated telephone dialing system.

12.    Defendant informed Plaintiff that it was attempting to collect a debt related

to his Navy Federal Credit Union account.

13.    Plaintiff unequivocally revoked consent to be called any further and to only

be contacted through mail in the future. Despite Plaintiff’s request not to be

contacted, Defendant continued to call Plaintiff.

14.   Between January 12, 2021, and December 16, 2021, Defendant called

Plaintiff no less than TWO HUNDRED AND SEVENTY-FIVE (275) times.

15.   Upon information and belief, Defendant regularly called Plaintiff between

two (2) and four (4) times a day.

16.   Upon information and belief, Defendant's system "use[s] a random generator

to determine the order in which to pick phone numbers from a preproduced list" as




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provided to it by Credit One and "then store[s] those numbers to be dialed at a later

time." Facebook, Inc. v. Duguid, 592 U. S. ____, slip op. 10, n.7 (2021).

17.   Upon information and belief, Defendant's equipment used to call Plaintiff has

the capacity to store a telephone number using a random or sequential number

generator and then dial those numbers at the appropriate times of the day so as to

not call before the allowable times depending on the zip code where each of

Defendant’s customers reside.

18.   Upon information and belief, Defendant's system used to call Plaintiff has

the capacity to produce a telephone number using a random or sequential number

generator.

19.   Upon Information and belief, the dialing system used by Defendant will take

the telephone numbers of customers who did not answer the phone and create a new

list that has been stored in the dialing system. The new list will be re-sequenced

using a sequential number generator to repeatedly dial those consumers until they

answer the phone, or until they have reached the maximum number of calls allowed

in a day.

20.   Upon information and belief, Defendant called Plaintiff's cellular telephone

using an artificial prerecorded voice.

21.   Upon information and belief, Defendant left automated voicemail messages

on Plaintiff's cellular telephone




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22.    Defendant’s calls not only induced stress, but also anxiety due to the daily

incessant calls to her cellular phone.

23.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages

including but not limited to, emotional and mental pain and anguish.

                                   COUNT I
               Defendant’s Violations of the TCPA, 47 U.S.C. § 227

24.    Plaintiff re-alleges and incorporates by reference paragraphs one (1) through

twenty-two (23) as though set forth at length herein.

25.    Defendant violated the TCPA. Defendant’s violations include, but are not

limited to the following:

 a. Within four years prior to the filing of this action, on multiple occasions,

      Defendants violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in

      pertinent part, “It shall be unlawful for any person within the United States . . .

      to make any call (other than a call made for emergency purposes or made with

      the prior express consent of the called party) using any automatic telephone

      dialing system or an artificial or prerecorded voice — to any telephone number

      assigned to a . . . cellular telephone service . . . or any service for which the

      called party is charged for the call.

 b. Within four years prior to the filing of this action, on multiple occasions,

      Defendants willfully and/or knowingly contacted Plaintiff at Plaintiff’s cellular

      telephone using an artificial prerecorded voice or an automatic telephone



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      dialing system and as such, Defendant knowing and/or willfully violated the

      TCPA.

26.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled

to an award of five hundred dollars ($500.00) in statutory damages, for each and

every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that

Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an

award of one thousand five hundred dollars ($1,500.00), for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                   COUNT II
                          Defendant’s Invasion of Privacy
                            (Intrusion upon Seclusion)

27.    Plaintiff re-alleges and incorporates by reference paragraphs one (1) through

twenty-five (26) as though fully set forth herein.

30.    Defendant violated Plaintiff’s privacy. Defendant’s violations include, but

are not limited to, the following:

 a. Defendant intentionally intruded, physically, or otherwise, upon Plaintiff’s

      solitude and seclusion by engaging in harassing phone calls in an attempt to

      collect an alleged debt despite multiple requests for the calls to cease.

 b. Defendant’s conduct would be highly offensive to a reasonable person as

      Plaintiff received calls after explaining that she was unable to make a payment

      due to her inability to pay and instructed them to only communicate with her




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        in writing.

     c. Defendant’s acts, as described above, were done intentionally with the

        purpose of coercing Plaintiff to pay the alleged debt.

28.       As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is

liable to Plaintiff for actual damages. If the Court finds that the conduct is found to

be egregious, Plaintiff may recover punitive damages.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Christopher Williams, respectfully requests judgment be

entered against Defendant, Navy Federal Credit Union for the following:

         A.     Declaratory judgment that Defendant violated the TCPA;

         B.     Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

         § 227(b)(3)(C);

         C.     Actual and punitive damages resulting from the invasion of privacy;

         D.     Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law; and

         E.     Any other relief that this Honorable Court deems appropriate.

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                       DEMAND FOR JURY TRIAL

    Please take notice that Plaintiff demands a trial by jury in this action.



    RESPECTFULLY SUBMITTED this 17th Day of March 2022,


                                      CHAMI LAW, PLLC

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